PX35
Subject: Re: important!
From:
To:
Date sent: Friday, November 9, 2018 12:40:51 PM GMT 08:00
Date received: Friday, November 9, 2018 12:41:04 PM GMT 08:00
____________________________________________
Just the tokens may be transferred and we will already sell them from our own accounts.
You just give us the command – we sell and record all of the revenue on the basis of 20%
realization

Is it possible?
On Fri, 9 Nov 2018 at 15:51,                     wrote:


    Thanks for the question. Your idea is clear, though it will be hard to implement it,
    because in this case we will have to spell out in LPA distribution in cash together
    with distribution in kind (in form of tokens) and all of the articles and taxes
    corresponding to them, and                 must get a permission to trading marketable
    securities, which fully changes the structure of the deal.
    For protection of investors from overvalued/undervalued exchange rate of tokens
    during the time frame we specifically spelled out that by the moment of final
    distribution and Carry calculation two major by trading volumes exchanges will be
    selected and a median exchange rate within the three trading days will be taken into
    account.


    On Fri, No 9, 2018 at 11:31 am                    wrote:
                  ,
       We would like to implement the evaluation on real deals with our tokens
       somehow, in order to avoid a situation when due to technical reasons it is
       impossible to sell them but the revenue is recorded at the same time.
       Our idea is the following – you initiate the sale of 20% of             and our tokens
       (the fourth part of 80%) and we calculate the revenue by the results of these deals.
       The wallets may be our private ones, mine and             , that is, the partnership
       does not have to be involved. Only           and me are getting the tax
       consequences because of this.
       Is it possible to implement the spirit of this idea into the agreement?


       On Fri, Nov 9 of 2018 at 15:01,                     wrote:
         On the topic of your remarks.
60% oftokens are transferred during the first trading days to the digital wallets of
investors (the wallets have to be active). We assume that the investors will be registered
on Telegram platform by you (for conducting operations with tokens in future)
As it has been discussed previously, I do not see any problem in token distribution of 60-
80% of tokens right after their receipt. The only moment is that one will have to get a tax
and legal opinion at the moment of distribution (there is a probability that we will be able
to do it in advance, when the exact date of distribution is known).
   20% oftokens are transferred to the common for the two investors wallet with your
   access to it – for token sale during the first three days oftrading – according to your
   wishes and the revenue will be calculated by the price ofthis deal. The money from
   token sale must return in equal parts to the investors` accounts (as a return on
   investment contribution)
As for the second point, honestly speaking, I do not recall that we have discussed the
creation of accounts and trading on the exchange on the behalf of Partnership (creation of
a separate account and trading on the behalf of                 on exchanges is rather
complicated from the legal and taxation point of view, and on top of it, it is not safe to
trade large amounts on crypto exchanges), but I think I will be able to help with OTC.
For our partnership and their partners we are working now on a contract on custody
accounts with blockchain.com, which will help with storage and Over-the-counter
transactions at the moment of token issue. I think that it will be the optimal way to sell
Grams.
   20% oftokens remain in the wallet ofpartnership, out ofwhich you take your part in
   tokens (15% ofrevenue) – by the price ofthe deal (see clause 2), and you transfer the
   remainder ofthe tokens to digital wallets ofinvestors in equal parts.
Calculation 15% carry will be made according to the terms spelled out in LPA. The
remainder of tokens will be distributed among investors according to their stake in
Partnership (in equal stakes if capital commitment is the same).
   Ifthere is now still a possibility to increase, it would be excellent. We are asking you
   insistently once again to discuss this possibility with Telegram.
I asked in Telegram regarding the possibility to increase the Capital Commitment but
unfortunately everything is full by now there and there are several active candidates for
our chunk.
Now the following steps are needed to be taken:
On the part of investors, there should be a filled out and signed Subscription
Agreement.
After this I sign and send you the executed copy of Subscription Agreement from my end
together with Wire Instructions. After the wire of funds I execute the Purchase
Agreement right away and send the transaction to Telegram.


On Fri, Nov 9 of 2018 at 3:13 AM
                              wrote:


                     and         have just had a conference call. Everyone is ready to sign
the documents today and to transfer the money, but we would like to coordinate at least
in the format of an electronic letter the following terms of the deal, previously discussed
by them with you.
   1. 60% of tokens are transferred during the first trading days to the digital wallets of
      investors (the wallets have to be active). We assume that the investors will be
      registered by you on Telegram platform (for conducting operations with tokens in
      future)
   2. 20% of tokens are transferred to the common for the two investors wallet with
      your access to it – for token sale during the first three days of trading – according
      to your wishes and the revenue will be calculated by the price of this deal. The
      money from token sale must return in equal parts to the investors` accounts (as a
      return on investment contribution)
   3. 20% of tokens remain in the wallet of partnership, out of which you take your part
      in tokens (15% of revenue) – by the price of the deal (see clause 2), and you
      transfer the remainder of the tokens to digital wallets of investors in equal parts.

       With respect,

       GM
       _____________________________________

       From:
       Date: Friday, November 9 of 2018, 13:15
       To:
                            >
       Copy:
       Topic: important!

       Hi
       Thank you for the quick reply.
       I am cc`ing here                 , so that everyone were in the loop.
       Because of the time difference, we only have 3 hours in order to make the
       payment.
       That is why, I am asking you to sign PA and SA (with all of the bank details
       of                    and send them to us for signing.
You have the filled out version of SA from our end.

As for the deal – there are still open questions. From our end we will send you the
table with calculations – with the request to confirm, so that everyone understood
the terms of the deal fully. As for the increase of Capital Commitment – well, we
talked about it on numerous occasions. Including at the meeting with              at
our office, when we discussed the terms of the very deal.
Then the answer was the following, that if Telegram offers only one “available
lot” for 5 mln since some of potential investors who tried to enter the deal still in
February, simply did not pass KYC. And we were flatly stated that it did not
seem possible to increase the amount of Capital Commitment.

But if there is still a possibility now to increase, it would be excellent. We are
asking you insistently once again to discuss this possibility with Telegram.

        , we would like to stress once again that everything is ready from our end,
despite of the fact that we are still awaiting a conclusion on the deal from our
lawyer and data on bank details from you.

With respect,

__________________________________________

From:
Date: Friday, November 9 of 2018, 11:27
To:
Copy:
Topic: Re: documents for review and questions



Thanks for the questions.
I will answer them in order.

      1. Signing ofPA, SA (date, deadline?)

Our deadline, which we received from Telegram is November 9, that is, actually
today. What is needed from you is a signed Subscription Agreement, after this I
sign it from my end, I accept your transfer, sign the Purchase Agreement with
Telegram and conduct the transaction.

Transfer Limited Partner to the account ofthe partnership. Time frame: +1 day
from cl.1. Not later than 09.11.2018???
The deadline was selected to be November 9, that is why it is better not to delay,
but at that the procedure should not be violated either. Telegram realizes that we
have created a new company especially for this and opened a bank account in
order to conduct the transaction, however it rushes us constantly. At this moment
I am expecting additionally a confirmation of KYC for the bank account, which
we created in                      .

Signing ofthe Agreement between Telegram and Partnership. Time frame…
Purchase Agreement between                   and Telegram Open Network will be
signed right after the transaction is made. That is, in an ideal scenario, if we
manage to finish everything today.

One can see below the example of a Purchase Agreement and confirmation of the
previous transaction from Elysium T2:
https://docsend.com/view/pbee9qa - Purchase Agreement
https://docsend.com/view/hmitj3k - Wire Confirmation

1. Article VII – p.d – On December 28, 2018, ifthe Partnership is unable to
   consummate the planned investment in the Target Company by such date the
   General Partner shall promptly thereafter return capital to the Limited
   Partners in proportion to their Capital Contributions – what is the meaning of
   this? Will the money, which will be contributed by investors to the
   partnership, not be transferred right away to Telegram? And in case, ifthe
   deal with Telegram does not take place by December 28 – all ofthe money
   will be returned to the investors? Within which time period and where is this
   time period spelled out in writing?
All is correct. Right after receiving the funds from the investors, we transfer the
funds to Telegram. In the agreement this insurance clause for investors is
specifically spelled out, saying that if due to some inability              is not
capable of executing the investment (for example, if the bank of Telegram
        rejects our transaction due to failure to pass KYC or if suddenly Telegram
“changes its mind” regarding accepting our investment due to multiple
postponements of deadlines), then                   returns capital commitments to
investors.
When and where (on which platform, software etc) will the digital wallets for
Partnership and for each Partner separately be created? Time frame…
TON Wallet will be created on Telegram platform. The network test will be
already launched this year. TON Wallets is forecasted to come out in Q1 2019.
All of the information on the product and timeline is described in TON Primer
and Whitepaper.
1. After the issue ofTokens on the market – they (Tokens) will be added to the
   wallet ofthe Partnership in the amount = 5 M USD (a conditional amount)
   /1.33.
The exact price of Gram at this round is $1.33003701. This, at the total
investment of $5 M we will get 3759293.88 Gram.
1. Do we understand it correctly that Telegram takes upon itselfthe duty to transfer
   the tokens to each ofthe investors (in our case                before the
   beginning ofthe official trading?
As far as I know, Telegram does not take upon itself such a duty. However, Telegram
bans any secondary transactions and securities` trading before the network launch.
1. The transfer ofTokens to the wallets ofeach ofthe Partners. Time frame and
   quantity (as a separate one out ofthe total amount ofinvestment, divided by 1.33)
Distribution of tokens to the partners will be in accordance with LPA. Without any
technical and legal obstacles we will try to make the transfer within the first three
days.
1. Calculation ofthe revenue = a simple arithmetic median value ofthe price of
   tokens at the time ofclosing at two major exchanges during the first three trading
   days. The question: at the start ofthe first trading day will the tokens be
   distributed to the wallets ofeach ofthe Partners and in which amount?
Upon the request of the investors, we may distribute up to 80% of tokens right after
their receipt (one just has to get a tax opinion and a legal consultation by the moment
of their issue).
1. Payment of15% ofrevenue by the results ofcalculation ofrevenue by cl. 8 will be
   performed…?
It will be deducted from the revenue on earnings in tokens.
1. Please explain whether the return of the quantity of tokens defined by the cl.7
   means the exit ofLimited Partner from Partnership?
Clause 7 spells out the process of liquidation of the company. In the most probable
scenario after the full distribution of the company`s assets (Grams) to partners, we
will take care of the company`s liquidation.
1. By the agreement on partnership – on page 3 (clause b) it is indicated that each of
   the partners must provide the General (Chief) partner with the power ofattorney
   and then according to the text. Please inform us as to what kind ofa document it
   is and whether we could take a look at it.
This clause says that each partner grants a right to GP to sign documents on the behalf
of the partnership, in our case it is Purchase Agreement with Telegram.
1. Do we need to send the originals ofsigned PA and SA to you?
We need from the investors only filled out and signed on two pages copies of
Subscription Agreement. The digital version is sufficient.
1. Where may one find the bank details ofthe partnership                   (where
   are they indicated and are the accounts already open – where should the money
   be wired?
I will send the bank details of the account after the receipt and review by lawyers of
the signed Subscription Agreement. The bank account is going through the KYC
process now with the compliance team in                           (it should be ready by
the morning (California time).
1. We are ready to increase the amount ofCapital Commitment/Contribution – can
   we do it and up to which amount?
There is a big competition for this chunk there already. The total allocation was 10 M,
out of which we take half, and we have been pushed already several times towards
decreasing it. By the procedure of Telegram the application of each investor must be
approved by 4 separate organizations: a legal firm Skadden, a regulatory hosting
Lawson Conner, Telegram itself, and                  on top of it. If you had let us
known in advance, something could have been attempted, but as of now, I have
doubts.




[Translators Note: The subsequent source pages 6-27 are repeat duplicates of source
page 1-5]
